Case 1:17-cv-23272-RNS Document 31 Entered on FLSD Docket 08/27/2018 Page 1 of 3



                           UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF FLORIDA


  SHARON WEINSTOCK, et al.,

                                Plaintiffs,
                 vs.                                          Civ. No. 17-cv-23272-RNS

  THE ISLAMIC REPUBLIC OF IRAN, et al.,

                          Defendants.
  ___________________________________________/


         SIXTH STATUS REPORT REGARDING SERVICE UPON DEFENDANTS

         Plaintiffs file this Sixth Status Report pursuant to the Court’s November 28, 2017,

  Paperless Order (ECF No. 13) directing them to inform the Court of their efforts to effect service

  of process upon the defendants every 45 days.

         As previously reported to the Court in Plaintiffs’ Response to Notice of Deadline to Serve

  (ECF 12) and Plaintiffs’ prior Status Reports Regarding Service upon Defendants (ECF 18, 20,

  21, 23, 27), this action was filed by the estate and family members of American citizen Yitzchak

  Weinstock, who was murdered in a terrorist attack carried out by defendant Hamas with the

  material support of defendant Islamic Republic of Iran (“Iran”) and others. Both defendants are

  located outside of the United States and can only be served abroad. Serving these defendants

  presents unusual complications.

         The Plaintiffs’ prior status reports are incorporated by reference and supplemented as

  follows:




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Case 1:17-cv-23272-RNS Document 31 Entered on FLSD Docket 08/27/2018 Page 2 of 3



                                     STATUS OF SERVICE UPON IRAN

          Iran was served on April 10, 2018. D.E. 22. The clerk entered default against Iran on

  June 12, 2018. D.E. 25. Plaintiffs are presently due to respond to the Court’s Order on Default

  Judgment Procedure on or before September 1, 2018.

                                   STATUS OF SERVICE UPON HAMAS

          Plaintiffs continue in their efforts to serve Hamas. On July 11, 2018, Plaintiffs sent the

  Clerk of the Court a request to serve Hamas under Fed. R. Civ. P. 4(f)(2)(C)(ii) using a “form of

  mail that the clerk addresses and sends … and that requires a signed receipt,” id., by sending the

  service documents by DHL to a senior Hamas officer at Hamas Headquarters in the Gaza Strip.

          On July 17, 2018 the Clerk filed a Notice of International Services indicating that the

  Complaint and Summons were sent to Hamas in Gaza City. D.E. 30. According to the DHL

  tracking site, the package arrived in Gaza City by July 26, 2018. The package was addressed to

  Dr. Sami Abu Zuhri, a senior Hamas official with an office at Hamas’s Gaza City Headquarters.

  D.E. 30-1. On August 18, 2018, DHL (Gaza City) informed the undersigned by email that Dr.

  Abu Zuhri had refused delivery, and that the package would be returned to the Court. Exhibit A.

          However, as reported in Plaintiffs’ previous status report, pursuant to plaintiffs’ Hague

  Convention request, the Head of Legal Assistance in the Israeli Ministry of Justice authorized

  service of the summons and complaint on a senior Hamas leader who resides in the West Bank. 1

  Unlike Gaza, there are process servers in Israel that serve legal process in the West Bank. On

  August 27, 2018, the Nazareth-based process service company retained by plaintiffs’ counsel to




          1   Plaintiffs respectfully prefer not to publicly identify this individual at this time, but will of
  course identify him under seal if the Court so orders.



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Case 1:17-cv-23272-RNS Document 31 Entered on FLSD Docket 08/27/2018 Page 3 of 3



  effectuate this service informed us that their process server will attempt to serve the papers on

  this Hamas leader at his home in the West Bank city of Al Bireh, on Tuesday, August 28, 2018.

         After the results of this service attempt are known, plaintiffs will promptly notify the

  Court either that it has succeeded, or, if it fails, what their next steps will be to serve Hamas.

  August 27, 2018


                                                 Plaintiffs, by their attorney,

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